Case 1:21-cv-24441-CMA Document 65 Entered on FLSD Docket 06/08/2022 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 21-24441-CIV-ALTONAGA/Torres

  MARK CASSIDY, on behalf of himself
  and others similarly situated,

          Plaintiff,

  v.

  VOYAGER DIGITAL LTD, and
  VOYAGER DIGITAL LLC

        Defendants.
  __________________________________/

       PLAINTIFF’S MOTION FOR CERTAIN COUNSEL TO APPEAR AT JUNE 14, 2022
                              HEARING VIA ZOOM
          Plaintiff respectfully seeks leave for certain of his counsel to appear at the June 14, 2022
  hearing on Defendants’ motion to compel arbitration via Zoom. In support thereof, Plaintiff states:
          1.      The Court recently issued an order, setting a hearing on Defendants’ motion to
  compel arbitration of Plaintiff’s claims. [ECF No. 54], for Tuesday, June 14, 2022, at 9:00am.
  [ECF No. 61].
          2.      Adam Moskowitz will attend the hearing in person and will be arguing in
  opposition to Defendants’ motion.
          3.      Certain of Plaintiff’s counsel are currently located out of the state and wish to attend
  the hearing. In the interests of efficiency and cost-effectiveness, Plaintiff respectfully requests that
  the Court grant leave for counsel to attend via Zoom videoconference and enter an order with
  appropriate Zoom instructions.
          4.      A proposed order accompanies this motion as Exhibit A.
                                            CONCLUSION
          WHEREFORE, Plaintiff respectfully requests the Court grant this motion allowing
  certain counsel to appear at the June 14, 2022 hearing via Zoom and enter an order with appropriate
  instructions in this regard.




                                                     1
Case 1:21-cv-24441-CMA Document 65 Entered on FLSD Docket 06/08/2022 Page 2 of 3




                          LOCAL RULE 7.1(a)(3) CERTIFICATION
         Plaintiff’s Counsel certifies they have conferred with Voyager’s Counsel to discuss the
  motion in accordance with Local Rule 7.1(a)(3) in a good faith effort to resolve the motion and
  were informed by Voyager’s counsel that “[w]e don’t take any position on your request to the
  Court on this.”


  Dated: June 8, 2022                        Respectfully submitted,

                                             By: /s/ Adam Moskowitz
                                             Adam M. Moskowitz
                                             Florida Bar No. 984280
                                             adam@moskowitz-law.com
                                             Joseph M. Kaye
                                             Florida Bar No. 117520
                                             joseph@moskowitz-law.com
                                             Barbara C. Lewis
                                             barbara@moskowitz-law.com
                                             Florida Bar No. 118114
                                             THE MOSKOWITZ LAW FIRM, PLLC
                                             2 Alhambra Plaza, Suite 601
                                             Coral Gables, FL 33134
                                             Telephone: (305) 740-1423

                                             By: /s/_ Stuart Z. Grossman
                                             Stuart Z. Grossman
                                             Florida Bar No. 156113
                                             szg@grossmanroth.com
                                             Rachel W. Furst
                                             Florida Bar No. 45155
                                             rwf@grossmanroth.com
                                             Ryan J. Yaffa
                                             Florida Bar No. 1026131
                                             rjy@grossmanroth.com
                                             GROSSMAN ROTH YAFFA COHEN, P.A.
                                             2525 Ponce de Leon Blvd Ste 1150
                                             Coral Gables, FL 33134
                                             Office: 305-442-8666

                                             Co-Counsel for Plaintiff and the Class




                                                2
Case 1:21-cv-24441-CMA Document 65 Entered on FLSD Docket 06/08/2022 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing was filed on June 8, 2022, with
  the Court via CM/ECF system, which will send notification of such filing to all attorneys of record.
                                                        By: /s/ Adam M. Moskowitz______
                                                                ADAM M. MOSKOWITZ
                                                                Florida Bar No. 984280




                                                   3
